 1                                      PROOF OF SERVICE
 2
          I reside and work in the City and County of San Diego, State of California. I am
 3   over the age of eighteen and not a party to the within action. My business address is
 4   409 Camino Del Rio South, Suite 101B, San Diego, California 92108.

 5        On January 31, 2019, I electronically filed with the Court and served through its
 6   CM/ECF program, which will electronically mail notice to all attorneys of record,
     through the same program, the following document(s):
 7

 8   NOTICE OF APPEARANCE BY DANIEL G. SHAY

 9

10            CM/ECF - by transmitting electronically the document(s) listed above to
               the electronic case filing system on this date before 11:59 p.m. The Court’s
11             CM/ECF system sends an e-mail notification of the filing to the parties and
12             counsel of record who are registered with the Court’s CM/ECF system.

13        I declare under penalty of perjury under the laws of the United States of
14   America that the above is true and correct.

15           Executed on January 31, 2019 in San Diego, California.
16

17                 Daniel G. Shay                   s/ Daniel G. Shay
18               (Type or print name)               Daniel G. Shay, Esq.
                                                    DanielShay@TCPAFDCPA.com
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     Proof of Service
